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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


IN RE: SUBPOENA TO NON-PARTY :
LINDSEY O. GRAHAM in his official :
capacity as United States Senator, :             CIVIL ACTION NO.
                                   :             1:22-cv-03027-LMM
In the matter of:                  :
                                   :
SPECIAL PURPOSE GRAND JURY, :
FULTON COUNTY SUPERIOR             :
COURT CASE NO. 2022-EX-            :
000024.                            :
                                   :


                                    ORDER

      This matter is before the Court on a Motion for Leave to File Brief as Amici

Curiae. Dkt. No. [8]. Any opposition to the motion SHALL be filed by 5:00 p.m.

on Monday, August 8, 2022.

      IT IS SO ORDERED this 5th day of August, 2022.



                                     _____________________________
                                     Leigh Martin May
                                     United States District Judge
